
*900OPINION.
Teussell :
The facts are set out in detail in the findings. They need not be repeated here. Petitioner comes squarely within the provisions of section 218 (d) of the Revenue Act of 1921. There are no quiescent stockholdings. All of the capital stock save three qualifying shares is owned by two individuals who devote their entire time, energies, experience, and influence to the conduct of the affairs of petitioner. To their activities, and to them only, is to be ascribed primarily the income of petitioner. The considerable amount of cash capital of which petitioner was the fortunate possessor is free and untram-melled. It is of no direct significance here. That capital is not a factor and does not produce the income of petitioner, is shown most convincingly. Compare Fuller &amp; Smith v. Routzahn, 23 Fed. (2d) 959; Massengale Advertising Agency, 2 B. T. A. 26; Westermann &amp; Pagano, Inc., 2 B. T. A. 1308; S. A. Conover Co., 6 B. T. A. 679; Botsford-Constantine &amp; Tyler, 10 B. T. A. 565; Sweeney &amp; James Co., 10 B. T. A. 966; Mitchell Advertising Agency, Inc., 10 B. T. A. 1311; MacMartin Advertising Agency, Inc., 11 B. T. A. 162.

Decision of no deficiency will he entered.

